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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

  In re:

  Byron Patterson McDaniel, JR and          Bankruptcy Case No. 09-37480 KHT
  Laura Paige McDaniel,
                                            Chapter 13
  Debtors.

  Byron Patterson McDaniel, JR and
  Laura Paige McDaniel,                     Adversary Proceeding No. 17-1274 KHT


  Plaintiff,

  v.

  Navient Solutions Inc.,

  Defendant.

               ORDER AND NOTICE OF TELEPHONIC STATUS CONFERENCE

      PLEASE TAKE NOTICE that this adversary proceeding has been set for a
telephonic status conference to be held on a trailing docket on Thursday, February 3,
2022 at 1:30 p.m. in Courtroom D, U.S. Custom House, 721 19th Street, Denver,
Colorado. Parties wishing to appear by telephone shall call 1-888-684-8852 at the
scheduled time of the hearing. The access code for the conference call is 4168567.


       DATED this 21st day of January, 2020.         BY THE COURT:




                                                     _______________________
                                                     Kimberley H. Tyson
                                                     United States Bankruptcy Judge
